                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                        Case No. 13-53846

CITY OF DETROIT, MICHIGAN,                                    Chapter 9

                Debtor.                                       Judge Thomas J. Tucker
                                        /

                    ORDER DENYING MOTION BY JEROME COLLINS
                       FOR LEAVE TO FILE DELAYED CLAIM

         This case is before the Court on a motion filed by Jerome Collins, entitled “[Corrected]

Motion for Entry of Order Granting Collins’ Verified Motion for Leave to File Delayed Proof of

Claim”) (Docket # 11743, the “Motion”). Today the Court has filed a written opinion regarding

the Motion. (Docket # 12704). For the reasons stated by the Court in its written opinion,

         IT IS ORDERED that the Motion (Docket # 11743) is denied.



Signed on October 20, 2017




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